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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )          8:05CR217
                    Plaintiff,              )
                                            )
       vs.                                  )           ORDER
                                            )
SHAMALE LANETTA KENNER,                     )
                                            )
                    Defendant.              )



       Defendant’s motion for release (Filing No. 19) is scheduled for hearing before the
undersigned magistrate judge at 9:15 a.m. on June 28, 2005, in Courtroom No. 7, Second
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 22nd day of June, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
